                 UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF NORTH CAROLINA
                       WESTERN DIVISION

JEFFERSON GRIFFIN,
  Plaintiff,
v.
NORTH CAROLINA STATE
BOARD OF ELECTIONS,
  Defendant,
and                                            Case No. 5:24-cv-00731-M
ALLISON RIGGS, VOTEVETS AC-
TION FUND, NORTH CAROLINA
ALLIANCE FOR RETIRED AMER-
ICANS, SARAH SMITH, and
JUANITA ANDERSON,
  Intervenor-Defendants.

NORTH CAROLINA DEMOCRATIC
PARTY,
  Plaintiff,
v.                                            Case No. 5:24-cv-00699-M-KS
NORTH CAROLINA STATE BOARD
OF ELECTIONS et al.,
  Defendants.

CARRIE CONLEY et al.,
  Plaintiffs,
v.                                            Case No. 5:25-cv-00193-M-RJ
ALAN HIRSCH et al.,
  Defendants.

                JUDGE JEFFERSON GRIFFIN’S BRIEF
            IN RESPONSE TO THE COURT’S ORDER AND
      IN OPPOSITION TO PRELIMINARY INJUNCTION MOTIONS




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                                  INTRODUCTION
       Movants disagree with North Carolina courts about state law. They argue that

North Carolina has changed the election rules after the election. But that’s not what the

courts said. They held that the “plain language” of the state constitution barred voters

who had never resided in North Carolina from voting in state elections. Griffin v. N.C.

Bd. of Elections, 2025 WL 1090903, at *3 (N.C. Apr. 11, 2025) (“Griffin II”); accord Griffin

v. NC. Bd. of Elections, 2025 WL 1021724, at *13 (N.C. Ct. App. Apr. 4, 2025) (“Griffin

I”). And the North Carolina Supreme Court found that the state election code required

overseas voters to provide photo identification with their ballots. Griffin II, 2025 WL

1090903, at *3. As part of its remedy, the court provided a 30-day cure period for those

voters to fix the defect. Id.

       Movants primary argument is “a backhanded critique of the merits” of that de-

cision. Bennett v. Yoshina, 140 F.3d 1218, 1225 (9th Cir. 1998). They oppose applying

state law at the time of the election, arguing that it would violate the U.S. Constitution

because the State Board of Elections had provided contrary guidance. Riggs Br.8-9;

LWV Br.13-14; NCDP Br.12.1 But they cannot justify this expansion of substantive due

process. To begin, courts must adhere closely to history and tradition when assessing

substantive due process, but Movants provide none.


1 Movants are Justice Riggs (Doc.40), the group led by the League of Women Voters of North

Carolina (Doc.12, No. 5:25-cv-193), and the group led by the North Carolina Democratic
Party (Doc.37, No. 5:24-cv-699). Unless otherwise noted, all minute orders and “Doc.” num-
bers refer to the lead docket, No. 5:24-cv-731.

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       Instead, Movants point to two out-of-circuit cases to derive a right to vote in

accordance with executive guidance rather than state election law. But even those deci-

sions fatally undermine Movants’ claim. The decisions “reject” challenges based on a

mere “clarification of the state’s election laws.” Bennett, 140 F.3d at 1227. Movants urge

this Court to reject the state courts’ clarification. The decisions recognize that even

“official misconduct” is not unconstitutional “where adequate state corrective proce-

dures exist.” Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978). Movants argue that a

30-day cure period is itself a constitutional violation. Riggs Br.10-11; LWV Br.13;

NCDP Br.21. The decisions stop short of ordering a state to count ballots that didn’t

comply with state law even when they found a violation. Burns, 570 F.2d at 1079-80.

Movants argue that even the ballots of unqualified voters must be counted. Riggs Br.9;

NCDP Br.12.

       Movants’ other merits arguments fare no better. They argue that the state’s cure

process will burden voters. Riggs Br.9-10; LWV Br.13; NCDP Br.12. But filling out

forms and providing documentation is an ordinary voting burden, and the State has a

compelling interest in enforcing its election laws. Democratic Party of Va. v. Brink, 599 F.

Supp. 3d 346, 363-64 (E.D. Va. 2022). Citing Bush v. Gore, Movants allege an equal-

protection violation. Riggs Br.9; LWV Br.21; NCDP Br.20. But Bush addressed only

“the special instance of a statewide recount under the authority of a single state judicial

officer” with inadequate standards. 531 U.S. 98, 109 (2000). It did not prohibit States

from implementing clear rules in a post-election challenge. One Movant points to the

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National Voter Registration Act to argue that ballots of people who never resided in

North Carolina must be counted. NCDP Br.21-22. But that statute governs registration

of qualified voters, not ballot-casting by unqualified voters.

       This Court need not even reach these merits issues. Younger abstention prevents

this Court from engaging in review that would require it to second-guess the decision

of the North Carolina courts. See Moore v. City of Asheville, 396 F.3d 385, 393 (4th Cir.

2005). After all, “[o]ur constitution does not contemplate that the federal judiciary rou-

tinely will pass judgment on particular elections” for “state” office. Hutchinson v. Miller,

797 F.2d 1279, 1280 (4th Cir. 1986).

       The Court should deny the preliminary-injunction motions and dismiss the cases.

                                   BACKGROUND
       The parties have been here before. When Judge Griffin was here the first time,

he alleged there were illegal votes cast in the 2024 election for Seat 6 on the North

Carolina Supreme Court. The State’s highest court confirmed that Judge Griffin was

right. Griffin II, 2025 WL 1090903, at *3.

       On December 18, 2024, Judge Griffin moved in the North Carolina Supreme

Court to stay certification of the election because of the State Board of Elections’ vio-

lations of state law. The Board removed the case to this Court. But on January 6, 2025,

this Court abstained under Burford, noting: “If our system of federalism is to exist in

more than name only, it means that this court should abstain in this case, under these




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circumstances.” Doc.50 at 25, No. 5:24-cv-724. The Court thus remanded the cases to

state court. Id. at 6.

       On January 7, the North Carolina Supreme Court enjoined the State Board from

certifying the election. And on January 22, after receiving extensive briefing about the

same federal law issues Movants raise here, see infra Section I, the North Carolina Su-

preme Court held that the temporary stay of the election’s certification will remain in

place until the appeals concluded. In the meantime, the Board appealed this Court’s

remand order, demanding that the Fourth Circuit direct this Court to retrieve the action

from the state court. Doc.7 at 4-5, No. 25-1020 (4th Cir.). On February 4, the Fourth

Circuit affirmed this Court’s abstention, but ordered the Court to retain “jurisdiction”

over “the federal issues” under Pullman. Doc.132, No. 25-1018 (4th Cir.).

       Litigation continued in state court. On April 4, the North Carolina Court of Ap-

peals ruled that counting the challenged ballots would violate the North Carolina Con-

stitution and election code. Griffin I, 2025 WL 1021724, at *14. On April 11, the North

Carolina Supreme Court affirmed in part. Griffin II, 2025 WL 1090903, at *3. It held

that the state constitution prohibits “never residents”—persons “who have never been

domiciled or resided in North Carolina or expressed an intent to live in North Caro-

lina”—from voting in “our state’s non-federal elections.” Id. It also held that North

Carolina law requires overseas voters who submit absentee ballots to provide “photo

identification.” Id. Because the photo-ID is a curable deficiency, the Court gave those



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voters “thirty calendar days after the mailing of notice” to “cure deficiencies arising

from lack of photo identification.” Id.

      Movants believe this court-ordered remedy violates the U.S. Constitution. First,

they argue that the North Carolina Supreme Court’s judgment violates substantive due

process because it’s “unfair[].” Riggs Br.8; LWV Br.8; NCDP Br.14. Second, some Mo-

vants argue the court’s judgment violates procedural due process and the federal right

to vote. NCDP Br.15-19; LWV Br.19-21. Third, Movants argue the state supreme

court’s judgment is “arbitrary” and violates the Equal Protection Clause. Riggs Br.9;

LWV Br.21; NCDP Br.20. Fourth, the North Carolina Democratic Party stands alone

in arguing that the order violates the National Voter Registration Act. NCDP Br.21-22.

Movants demand this Court “prohibit the parties from taking any action to enforce or

effectuate” the “opinion” of “the North Carolina Supreme Court.” Riggs Br.15; accord

LWV Br.25; NCDP Br.2.

                                     ARGUMENT
I.    The Court should abstain under Younger.
      Younger commands abstention “if the State’s interests” are “so important that

exercise of the federal judicial power would disregard the comity between the States

and the National Government.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 11 (1987). For at

least four reasons, Younger applies here.

      First, the four “core Younger concerns” are present: “the federal action” is ‘“du-

plicative,”’ federal intervention casts ‘“direct aspersion on the capabilities and good


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faith of state appellate courts,”’ federal intervention “disrupts important state enforce-

ment efforts,” and federal intervention “is designed to annul a state proceeding.” Moore,

396 F.3d at 394 (quoting Huffman v. Pursue, Ltd., 420 U.S. 592, 608-09 (1975)). Movants

seek to “relitigate a dispute that has already been resolved” concerning their various

federal arguments that have already been submitted to the state courts. Id. at 395. Mo-

vants “seek[] to annul or trample on the results” of those state-court decisions. Id. Their

arguments would require this Court “place a construction on a state statute different

from the one rendered by the highest court of the State.” Johnson v. Fankell, 520 U.S.

911, 916 (1997). At the very least, Movants seek to thwart the state court’s application

of state law to a state election, which would “offend the State’s appellate processes,”

and “undo what the State has done.” Moore, 396 F.3d at 395. This Court should “wisely

and productively discharge its judicial duty by abstaining.” Order, Doc.50 at 26, No.

5:24-cv-724 (cleaned up).

       Second, “important state interests are involved.” Middlesex Cnty. Ethics Comm. v.

Garden State Bar Ass’n, 457 U.S. 423, 432 (1982). “The state’s interest here—regulating

its local elections—is [an] important state interest.” San Jose Silicon Valley Chamber of Com.

PAC v. City of San Jose, 546 F.3d 1087, 1094 (9th Cir. 2008). “No function is more es-

sential to the separate and independent existence of the States” than “the power to

determine within the limits of the Constitution” their own “machinery for filling local

public offices.” Oregon v. Mitchell, 400 U.S. 112, 125 (1970) (op. of Black, J.). The same

“principles of federalism” that justify Younger abstention, Pennzoil, 481 U.S. at 10, also

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“limit the power of federal courts to intervene in state elections,” Burton v. Georgia, 953

F.2d 1266, 1268 (11th Cir. 1992).

       Third, Movants had an opportunity to litigate the federal constitutional chal-

lenges. Younger requires only that the Movants had access to a procedure to “challenge”

the action “in state court”—not that any state court “consider” the “federal constitu-

tional questions.” San Jose, 546 F.3d at 1095. All Movants had that opportunity. In fact,

Justice Riggs, the Board, and VoteVets took it. In January 2025, those parties presented

the same federal-law arguments Movants make here to the North Carolina Supreme

Court. BOE Br.50-63, Griffin I, No. 320P24; Riggs Br.67-70, id.; VV Br.22-44, id. That

the doors of North Carolina’s courts were open to Movants is sufficient for Younger

purposes. That the state courts heard those arguments and did not find them persuasive

is even stronger reason to abstain. See Middlesex, 457 U.S. at 431 (“Minimal respect for

the state processes, of course, precludes any presumption that the state courts will not

safeguard federal constitutional rights.”).

       Fourth, the relief Movants seek would annul the state adjudication. The Supreme

Court has “exten[ded]” Younger to “the context of completed state proceedings.” Moore,

396 F.3d at 394. It has applied Younger to bar federal action, even when the state court

proceedings have ended, so long as the federal complaint is designed “to annul the

results of a state trial.” Huffman, 420 U.S. at 609. Sometimes “it’s difficult to determine

if a plaintiff seeks review of a state-court decision.” RLR Invs. v. City of Pigeon Forge, 4

F.4th 380, 387-88 (6th Cir. 2021) (applying Rooker-Feldman). “But there’s no complexity

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when the litigant directly asks a federal district court to declare a state-court order to be

unconstitutional and enjoin its enforcement.” Id. at 388 (cleaned up). That’s what Mo-

vants demand here, asking this Court to enjoin the parties “from taking any action to

enforce” the “opinion” of “the North Carolina Supreme Court.” Riggs Br.15.

         It’s no answer to say that the Fourth Circuit ordered this Court to retain jurisdic-

tion of federal claims under Pullman. To the extent Movants ever initiated a “properly

invoked concurrent suit,” they now seek relief only from the court-ordered remedy, not

from generally applied “state law.” Nivens v. Gilchrist, 444 F.3d 237, 245 (4th Cir. 2006).

That is, Movants do not argue that North Carolina’s ID and residency requirements are

unconstitutional on their face. Indeed, they concede that those laws “may be binding

moving forward.” Riggs Br.9; see also LWV Br.18 (applicability to “future elections” is “not

at issue”). Movants claim to challenge only whether “[t]hose state-law decisions” can

“apply retroactively.” Riggs Br.9. But that’s another way of saying they challenge the

“execution of state judgments.” Pennzoil, 481 U.S. at 14. Their arguments rest on the

notion that the “North Carolina Court of Appeals’ opinion would, if implemented,”

violate federal law. Riggs Br.9-10. Movants thus “challenge[] … the processes by which

the State compels compliance with the judgments of its courts.” Pennzoil, 481 U.S. at

13-14.

         “Abstention is particularly appropriate where the requested equitable relief

would ‘render the state court’s orders or judgments nugatory’” in “an election contest.”

Stein v. Cortes, 223 F. Supp. 3d 423, 434-35 (E.D. Pa. 2016) (quoting Schall v. Joyce, 885

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F.2d 101, 108 (3d Cir. 1989)). Younger applies, so the Court should “dismiss the case

with prejudice.” Nivens, 444 F.3d at 247.

II.    Movants’ federal claims fail on the merits.
       A.     There is no substantive due process violation.
       Movants ask for the expansion of a substantive due process right never recog-

nized by the Supreme Court. Courts must ‘“exercise the utmost care”’ when expanding

substantive due process, Washington v. Glucksberg, 521 U.S. 702, 720 (1997), and keep

within the limits of “history and tradition,” Dobbs v. Jackson Women’s Health Org., 597

U.S. 215, 240 (2022). Movants rely instead on out-of-circuit caselaw that didn’t perform

that historical analysis. See, e.g., Riggs Br.8-9 (citing Griffin v. Burns, 570 F.2d 1065 (1st

Cir. 1978); Bennett v. Yoshina, 140 F.3d 1218 (9th Cir. 1998)). From those cases, they

invite this Court to grade the papers of state courts, creating a substantive right to vote

according to the guidance of election officials, not state statutes and the state Constitu-

tion as interpreted by state courts.

       But Movants’ request goes far beyond what even those out-of-circuit decisions

allowed. Where those decisions emphasized the absence of any cure process, Movants

argue that North Carolina’s cure process is itself a constitutional violation. And where

those decisions concerned qualified voters who had been misinformed about election

processes, Movants seek to compel North Carolina to count the ballots of unqualified

voters.




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      Start with the Never Residents who, under state law, are not qualified voters.

Movants’ argument “proceeds from the assumption,” now “shown to be erroneous,”

that non-residents “have a right to vote in [North Carolina] elections.” Holt Civic Club

v. City of Tuscaloosa, 439 U.S. 60, 75 (1978). North Carolina “has unquestioned power to

impose reasonable residence restrictions of the availability of the ballot.” Carrington v.

Rash, 380 U.S. 89, 91 (1965). It may “restrict the vote” to “residents” who are “bona

fide.” Dunn v. Blumstein, 405 U.S. 330, 334 (1972). Eligible voters under North Carolina

law are those who “make North Carolina their domicile of choice,” which categorically

excludes those who were “Never Resident[s].” Griffin I, 2025 WL 1021724, at *13. Were

the Court to find that “removal” of the Never Residents’ votes violates federal law, it

“would effectively grant, and then protect, the franchise of persons not eligible to vote.”

Bell v. Marinko, 367 F.3d 588, 592 (6th Cir. 2004). As to those “non-residents,” there is

“no due process violation.” Snead v. City of Albuquerque, 663 F. Supp. 1084, 1089

(D.N.M.), aff’d, 841 F.2d 1131 (10th Cir. 1987).

      As for the overseas voters, the state supreme court’s expansion of the notice-

and-cure process to a full month for voters to provide photo-ID is enfranchising. The

First Circuit recognized that “election irregularities” aren’t “usually” unconstitutional

“where adequate state corrective procedures exist.” Burns, 570 F.2d at 1077. The court

found a violation where “the state court did not confront the questions that retroactive

application of its ruling would create.” Id at 1079. Here, the North Carolina Supreme

Court expressly considered those “questions,” id., expanding the cure period to 30 days,

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Griffin II, 2025 WL 1090903, at *3. Movants don’t grapple with this shortcoming in their

argument. Instead, they insist—contrary to their own authority—that the state remedial

process itself is a substantive due-process violation. E.g., NCDP Br.12-14.

       Movants can’t square their argument that a cure process is unconstitutional with

the remedy in Burns—“a new primary” election. 570 F.2d at 1066. Movants ask for a

remedy far more intrusive on the state courts’ authority to decide state law. The North

Carolina courts have ruled that the overseas voters cast invalid ballots under state law

at the time. Griffin I, 2025 WL 1021724, at *13. Movants insist that those ballots must

be counted anyway. But they provide no authority to support that remedy just because

a voter relies on incorrect guidance from state officials.

       Nor can Movants point to anything about the cure process here to show a con-

stitutional violation. “[N]o case mandates any particular length of time that states must

provide after Election Day for voters to cure ballot errors.” Ne. Ohio Coal. for the Homeless

v. Husted, 837 F.3d 612, 635 (6th Cir. 2016). But federal courts have upheld much shorter

notice-and-cure periods than the 30 day period set by the state supreme court. See id.

(reducing cure period from ten to seven days presents no constitutional problem); Lee

v. Va. State Bd. of Elections, 843 F.3d 592, 607-08 (4th Cir. 2016) (three days); Crawford v.

Marion Cnty. Election Bd., 553 U.S. 181, 199 (2008) (ten days); see also Democratic Exec.

Comm. of Fla. v. Lee, 915 F.3d 1312, 1323 (11th Cir. 2019) (“48 hours’ notice” is “rea-

sonable”). State election officials are working to contact voters by mail, phone, or email,

and voters can correct any problems rapidly. Doc.61 at 4-5. That some voters might

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choose not to cure their ballots cannot be attributed to the State. Brink, 599 F. Supp.

3d at 362.

      The other substantive rights Movants propose make even less sense. There is no

“right to vote” that “encompasses the right to have a ballot counted that is defective

under state law.” Pa. State Conf. of NAACP Branches v. Sec’y Commw. of Pa., 97 F.4th 120,

133 (3d Cir. 2024). And no voter has a right to a “presumpt[ion]” that their ballot is

valid. Contra LWV Br.19-21. The entire history of election contests shows there’s no

right to prevent a once-counted ballot from being excluded after it is deemed deficient.

      Even if Movants had identified a substantive right at stake, they’ve not shown

that the state court judgments infringe on that right. The cases they rely on prohibit

federal courts from reviewing “garden variety” elections issues, and they require “mas-

sive” disenfranchisement before a federal court interferes with state election disputes.

Bennett, 140 F.3d at 1226-27. Both are reasons Movants’ claims fail.

             1.     At most, Movants allege a “garden variety” election issue.
      “Fourth Circuit” precedent “requires” that this Court be “exquisitely sensitive”

when considering Movants’ substantive due process argument, as it demands “inter-

fer[ence]” with North Carolina’s election for state office. Lecky v. Va. State Bd. of Elec-

tions, 285 F. Supp. 3d 908, 915 (E.D. Va. 2018). The “circuit courts have uniformly

declined” to intervene on substantive due process grounds in a state election “with

respect to garden variety election irregularities.” Hutchinson, 797 F.2d at 1283 (cleaned

up). That’s because of “the constitutional recognition” that States ‘“are primarily

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responsible for their own elections,”’ id., and state supreme courts are “the final arbi-

ter[s]” of their own State’s laws, Bennett, 140 F.3d at 1225. Federal courts generally are

“powerless to review” a state supreme court election decision, “even if” they think “it

was wrong or contrary to general principles of election laws.” Id.

       “[O]nly the most extraordinary circumstances” involving an act that “‘shocks the

conscience’” justifies a federal court’s intervention under the Due Process Clause. Don-

ald J. Trump for President v. Boockvar, 493 F. Supp. 3d 331, 397 (W.D. Pa. 2020) (quoting

Miller v. City of Phila., 174 F.3d 368, 375 (3d Cir. 1999)). Examples include racial discrim-

ination “against a discrete group of voters,” officials “refus[ing] to hold an election

though required by state law, resulting in a complete disenfranchisement, or when the

willful and illegal conduct of election officials results in fraudulently obtained or funda-

mentally unfair voting results.” Nolles v. State Comm. for Reorganization of Sch. Districts, 524

F.3d 892, 898 (8th Cir. 2008) (internal citations omitted). By contrast, “irregularities, ex

post changes in law or procedure, and fraud will not amount to a denial of due process

if they are of the ‘garden variety’ sort,” even if those changes “control the outcome” of

the election. Election Integrity Project Cal. v. Weber, 113 F.4th 1072, 1097 (9th Cir. 2024).

       Movants have “not made the requisite clear showing” of “the kind of broad

gauged unfairness necessary to state a due process” claim. Lecky, 285 F. Supp. 3d at 916.

When a state supreme court engages in merely “ex post clarification of the state’s election

laws,” that order “possibly amounts, at worst, to a garden variety election irregularity”

and is “hardly a pervasive error that undermines the integrity of the vote.” Bennett, 140

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F.3d at 1227 (holding Hawaii Supreme Court’s ex post clarification of state law affecting

45,000 ballots didn’t violate substantive due process). The North Carolina Constitu-

tion’s bona fide residency requirement was not just “existing law” before the 2024 elec-

tion, contra Riggs Br.11—it’s been part of the state’s constitution since 1776, see N.C.

Const. of 1776, arts. VII-VIII. The same is true of the requirement for overseas voters

to provide photo-ID, which the North Carolina courts held was required by the lan-

guage of the state election code. Griffin II, 2025 WL 1090903, at *3.

       By affirming that North Carolina’s Constitution prohibits “individuals to vote in

our state’s non-federal elections who have never been domiciled or resided” in the State

and that overseas voters must provide photo-ID, the North Carolina Supreme Court

didn’t change existing law. Griffin II, 2025 WL 1090903, at *3. And it didn’t “retroac-

tive[ly]” invalidate ballots. Contra Riggs Br.9. At most, Movants allege ex post clarification

of North Carolina’s election laws by the state supreme court. E.g., Riggs Br.8-9. But a

state board of elections misinterpreting a state’s election code is about as garden-variety

as it gets. See Sharma v. Hirsch, 121 F.4th 1033, 1043 (4th Cir. 2024) (board of elections

is “[o]ften” put in situations where it must choose whether to “forego” enforcement of

the “policies” established by the Legislature).

       “[T]he interpretation” of North Carolina law by the state courts is “binding on

federal courts,” as no “federal tribunal has any authority to place a construction on a

state statute different from the one rendered by the highest court of the State.” Fankell,

520 U.S. at 916. So “even if” federal courts believe the decision “was wrong or contrary

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to general principles of election laws,” they are “powerless to review” that decision.

Bennett, 140 F.3d at 1225 (citing Fankell).

               2.    Movants don’t prove “massive” disenfranchisement.
         Under Movants’ own standard, they must prove “significant disenfranchise-

ment” to prevail on a substantive due process claim. Riggs Br.8 (quoting Bennett, 140

F.3d at 1226). But the cases they rely on impose a much higher standard. Only “mas-

sive” disenfranchisement can sustain a substantive due process claim, which is analo-

gous to “10 percent of the total votes cast.” Bennett, 140 F.3d at 1226 (citing Burns, 570

F.2d at 1068). And the problems must be so widespread that they “permeate[] an elec-

tion,” Burns, 570 F.2d at 1077, not just a handful of affected voters. No voter is disen-

franchised: the overseas voters will have an opportunity to cure their ballots and have

their votes counted, and the Never Residents were never qualified to vote in the first

place.

         Even assuming Movants’ false premise that these groups will be “disenfran-

chised,” Movants fall far short of the “massive” number of votes required to upset a

settled state process. Bennett, 140 F.3d at 1226. Justice Riggs alleges “1,409 ballots” cast

by voters without a photo-ID and “266 ballots” who have never “resided in North

Carolina” are affected by the Court’s order. Riggs Br.3. That’s less than 0.03% of the

total 5,540,090 votes cast. The high-water mark identified by the NCDP is “nearly 5,500

voters,” NCDP Br.1, which is still orders of magnitude below the “10 percent of the




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total votes cast” that is the kind of “massive” disenfranchisement Movants need to

allege. Bennett, 140 F.3d at 1226.2

       Moreover, the North Carolina Supreme Court’s order requires the Board to no-

tify voters who cast their ballots without a photo-ID and give them the opportunity to

cure and have their votes counted. That fact further distinguishes Burns, which involved

“the cancelling of the ballots” of 10% of voters with no opportunity to cure. 570 F.2d

at 1074. Here, the North Carolina Supreme Court gave the affected voters thirty days

to provide proof of photo-ID or file an exemption form. The notion that “the notice

and cure process disenfranchises voters” is “in tension with longstanding Supreme

Court precedent.” Brink, 599 F. Supp. 3d at 362. The Supreme Court has “rejected the

idea that a voter’s failure to follow a regulation could be said to disenfranchise that voter.”

Id. (citing Rosario v. Rockefeller, 410 U.S. 752, 757-58 (1973)). That the cure opportunity

comes after the election makes no difference: whether before or after an election, “if a

voter follows instructions, their vote will be counted.” Id. So “the notice and cure pro-

cess in this case can never be said to disenfranchise a voter.” Id.

       Movants lack of support for their requested remedy to force the Board to count

unlawful votes confirms that the issue here was not “massive.” Bennett, 140 F.3d at 1226.



2 Judge Griffin challenged over 5,500 overseas ballots in six counties that accepted overseas

ballots without requiring photo identification. Under the state court judgment, all ballots sub-
mitted by Never Residents statewide are illegal and must be excluded from the vote count. So
far, Judge Griffin has received records from counties indicating that more than 500 Never
Residents voted in the election. See Doc.76-1 at 16-17.

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When election problems “permeate[] an election,” as Movants’ best cases require them

to show, courts have ordered “that a new [election] be held.” Burns, 570 F.2d at 1077.

That no Movant demands a new election undercuts their claims that the problems of

unlawful voting were widespread. In contrast to the state court in Burns, which removed

roughly 10% of the ballots from the count, id. at 1067, the state court judgment orders

a modest solution to the limited problem: notify the qualified voters who cast unlawful

ballots and permit them a reasonable time to cure the deficiency.

      B.     There are no procedural due-process or right-to-vote violations.
      The Democratic Party and League of Women Voters bring procedural due-

process and federal right-to-vote challenges against the court-ordered notice-and-cure

period. Both claims misunderstand the law.

             1.     The Anderson-Burdick test applies to Movants’ procedural
                    due-process and right-to-vote claims.
      Movants acknowledge that Anderson-Burdick applies to their right-to-vote claim,

but they argue that Mathews v. Eldridge applies to their procedural due-process claim.

While the Fourth Circuit “has not addressed this issue, all three circuits to consider the

question have applied Anderson/Burdick instead of Mathews.” Brink, 599 F. Supp. 3d at

361 (collecting cases). Movants cite one district court that has applied Mathews. But “the

reasoning of the Fifth, Ninth, and Eleventh Circuits” is “more persuasive,” and the

“Supreme Court has affirmatively said that a Court considering a challenge to a state

election law under the First and Fourteenth Amendments ‘must resolve such a challenge’



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under the Anderson/Burdick balancing test.” Id. (quoting Anderson v. Celebrezze, 460 U.S.

780, 789 (1983)). Even if Mathews applied, it’s “conceptually duplicative” of Anderson-

Burdick and requires the same outcome here. New Ga. Project v. Raffensperger, 976 F.3d

1278, 1282 (11th Cir. 2020).

       Under Anderson-Burdick, Movants must satisfy a two-step test. They shoulder a

heavy burden at each step, because rules that govern elections are “‘inevitabl[e]’” and

“necessar[y]” if elections are to “‘honest’” and “‘orderl[y].’” Timmons v. Twin Cities Area

New Party, 520 U.S. 351, 358 (1997). First, Movants must provide “admissible and reli-

able evidence that quantifies the extent and scope” of the burden. Common Cause/Ga. v.

Billups, 554 F.3d 1340, 1354 (11th Cir. 2009). The “extent of the burden” is “a factual

question” on which Movants bear “the burden of proof.” Democratic Party of Haw. v.

Nago, 833 F.3d 1119, 1124 (9th Cir. 2016). Second, Movants must show that the burden

outweighs the State’s proffered interests. Timmons, 520 U.S. at 358. Only when an elec-

tion procedure “subject[s]” voting rights “to ‘severe’ restrictions” does a court apply

strict scrutiny. Burdick v. Takushi, 504 U.S. 428, 434 (1992). Election procedures that

“impose[] only ‘reasonable, nondiscriminatory restrictions’” are “‘generally’” justified

by “‘the State’s important regulatory interests.’” Id. Indeed, “articulating an interest is a

low bar” and the State “is not required to support its legitimate interest with empirical

evidence of any kind.” Brink, 599 F. Supp. 3d at 363-64.




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              2.     Movants allege only de minimis burdens.
       There is no constitutional right to be free from “the usual burdens of voting.”

Crawford, 553 U.S. at 198 (op. of Stevens, J.). Contrary to Movants’ rhetoric, no one is

disenfranchised who fails to heed reasonable time, place, and manner rules on voting.

Rosario, 410 U.S. at 758. Any inability to vote is “not caused by [the rules], but by [vot-

ers’] own failure to take timely steps to [comply].” Id. Even “the inconvenience of mak-

ing a trip to the BMV, gathering the required documents, and posing for a photograph”

to obtain an identification is not “a significant increase over the usual burdens of vot-

ing.” Crawford, 553 U.S. at 198.

       Movants don’t allege anything close to that level of burden here. Rather, they

“primarily argue that the notice and cure process disenfranchises voters” who may “fail

to fill out the absentee ballot correctly.” Brink, 599 F. Supp. 3d at 362. But “the notice

and cure process in this case” is “at most, a minimal burden” on voters. Id. (cleaned

up). “All a voter must do to comply with the process is act in a timely fashion.” Id.

       Movants argue the notice-and-cure deadline is too early. E.g., NCDP Br.17. But

this date is “reasonably related to the state’s need to process absentee ballots in a timely

fashion.” Brink, 599 F. Supp. 3d at 362. They also argue that a voter could miss the cure

deadline because of postal delays outside of their control. E.g., NCDP Br.17. But the

thirty-day notice-and-cure period is enough time to avoid any postal delay in most cases.

In any event, “any postal delays would also be out of the state’s control.” Brink, 599 F.

Supp. 3d at 362 n.20. “This Court cannot conclude that speculating about postal delays

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for hypothetical absentee voters somehow renders [North Carolina’s] absentee ballot

system constitutionally flawed.” Id. (cleaned up). Movants haven’t “cited any authority

suggesting that a State must afford every voter multiple infallible ways to vote” and

“mail-in ballot rules that merely make casting a ballot more inconvenient for some vot-

ers are not constitutionally suspect.” Tex. LULAC v. Hughs, 978 F.3d 136, 146 (5th Cir.

2020).

                3.    Compelling state interests justify enforcement of North
                      Carolina’s election laws.
         Where the State’s election procedures impose only a minimal burden, “‘im-

portant regulatory interests are generally sufficient to justify’ the restrictions.” Burdick,

504 U.S. at 434. The state need only “articulate its asserted interests.” Libertarian Party

of Virginia v. Alcorn, 826 F.3d 708, 719 (4th Cir. 2016). Here, the North Carolina Su-

preme Court agreed the State had compelling interests in not counting unlawful ballots.

         First, North Carolina has a compelling interest in protecting its citizens from

“unlawful votes” which “disenfranchise[] those voters who cast legal ballots.” Griffin II,

2025 WL 1090903, at *2 (cleaned up). “[T]he right of suffrage can be denied by a de-

basement or dilution of the weight of a citizen’s vote just as effectively as by wholly

prohibiting the free exercise of the franchise.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

(cleaned up).

         Second, the State has a compelling interest in “a fair count” which must be “held

inviolable to preserve our democracy.” Griffin II, 2025 WL 1090903, at *2 (cleaned up).



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“There is no question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.” Crawford, 553 U.S. at 195-96. “[D]ue to the

minimal burden placed on voters” and North Carolina’s numerous “interests that mul-

tiple courts have upheld as important in the past,” Movants “fail to state a claim for

relief as a matter of law.” Brink, 599 F. Supp. 3d at 364.

      C.     There is no Equal Protection Clause violation.
      Movants’ equal-protection claims fail at the outset because the Anderson-Burdick

test, not Bush v. Gore, applies to equal-protection challenges to state law. “The Supreme

Court has addressed [Equal Protection] claims” against state election laws “using a sin-

gle analytic framework.” Dudum v. Arntz, 640 F.3d 1098, 1106 n.15 (9th Cir. 2011) (cit-

ing Anderson, 460 U.S. at 787 n.7). So Movants’ equal-protection claims fail for the same

reason their due-process claims fail. See supra Section II.B. In any event, Bush was “lim-

ited to the present circumstances” of that case. 531 U.S. 98, 109 (2000). For at least four

reasons, Bush doesn’t apply.

      First, “Bush is of limited precedential value.” Wise, 978 F.3d at 100 n.7. Circuit

courts have questioned whether Bush applies “to more than the one election to which

the Court appears to have limited it.” E.g., Lemons v. Bradbury, 538 F.3d 1098, 1106 (9th

Cir. 2008). Even if it applied, Movants offer no reason to extend Bush’s rule—which

involved a national federal presidential election—to a local state election. “[I]n the con-

text of a Presidential election, state-imposed restrictions implicate a uniquely important

national interest.” Anderson, 460 U.S. at 794-95. But that uniquely national interest isn’t

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implicated here. Outside the context of “an election for the President of the United

States,” “comity and respect for federalism compel us to defer to the decisions of state

courts on issues of state law.” Bush, 531 U.S. at 112 (Rehnquist, C.J., concurring).

      Second, “[a]t best, Bush applies only in ‘special… circumstances’ not present in

this case.” Kim v. Bd. of Educ. of Howard Cnty., 641 F. Supp. 3d 223 (D. Md. 2022), aff’d,

93 F.4th 733 (4th Cir. 2024). Bush’s specific-standards test applied “only because it was

a court-ordered recount.” Lemons, 538 F.3d at 1106. Bush cabined its reasoning to “the

special instance of a statewide recount under the authority of a single state judicial of-

ficer.” 531 U.S. at 109. And that recount provided election oﬀicials with no standards

by which to determine voter “intent” when examining ambiguously marked ballots,

resulting in disparate treatment of similarly situated voters across counties. Id. at 105-

06. Here, the ID and residency requirements are “suﬀiciently uniform and speciﬁc to

ensure equal treatment of voters.” Cf. Lemons, 538 F.3d at 1106. Voters either satisfy

them, or they don’t.

      Third, Bush reaffirmed that, to address the “many complexities” of election pro-

cesses, “local entities” may “develop different systems.” Id. Indeed, under the Equal

Protection Clause, “the methods by which a voter casts his vote may vary throughout

the state.” Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 181 (4th Cir. 1983). “Even

when boards of elections ‘vary … considerably’ in how they decide to reject ballots,

those local differences in implementing statewide standards do not violate equal



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protection.” Donald J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 388 (3d

Cir. 2020) (quoting Husted, 837 F.3d at 635-36). That voters in some counties will take

advantage of the notice-and-cure procedures under the state Supreme Court’s order

while others may not doesn’t present a Bush v. Gore problem. Cf. Boockvar, 502 F. Supp.

3d at 922. Under Movants’ theory, the Equal Protection Clause requires every candidate

contesting an election to file in every county across the State. But candidates routinely

file in only a handful of counties given various constraints on the process. E.g., Joshua

A. Douglas, Procedural Fairness in Election Contests, 88 Ind. L.J. 1, 18 (2013). Correcting

election errors in one location doesn’t require correcting all errors across the State.

       Fourth, since “Bush v. Gore does not federalize every jot and tittle of state election

law,” stating “a violation of the Equal Protection Clause” requires “more than” allega-

tions of “variation from county to county.” Trump for President, 830 F. App’x at 388. It

requires allegations that the State “place[d] an onerous burden on voters’ exercise of

their right to vote.” Hendon, 710 F.2d at 181. But the North Carolina Supreme Court’s

order makes it easier to vote and have one’s vote counted—not harder. North Carolina

law allows a cure period of only three days following Election Day. N.C.G.S. §163-

230.1(e1). The North Carolina Supreme Court’s order extends that period for thirty days.

While Movants argue that complying with the cure process is a “burden[],” Riggs Br.11,

requiring a voter to cure a defective absentee ballot “only places a minimal burden on

voters,” Brink, 599 F. Supp. 3d at 361. “All a voter must do to comply” with the cure



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process “is act in a timely fashion.” Id. at 363. And a “[r]easonable regulation” of elec-

tions “does require [voters] to act in a timely fashion.” Burdick, 504 U.S. at 438.

       Finally, the thirty-day deadline established by the North Carolina Supreme Court

is “reasonably related to the state’s need to process absentee ballots.” Brink, 599 F.

Supp. 3d at 363. “Elections must end sometime.” DNC v. Wis. State Legislature, 141 S.

Ct. 28, 28 (2020) (Gorsuch, J., concurring). And the notice-and-cure procedure furthers

the State’s weighty interest in ensuring that only lawful votes are counted. Eu v. S.F.

Cnty. Democratic Central Comm., 489 U.S. 214, 231 (1989).

       D.     There is no National Voter Registration Act violation.
       The North Carolina Democratic Party argues that the State’s prohibition on

Never Residents voting in the State’s elections violates the NVRA. NCDP Br.21-22.

For at least six reasons, the claim is meritless.

       First, the NVRA applies to voter registration, not election procedure. “Congress

did not intend the NVRA to regulate voting procedures in elections or election chal-

lenges.” True the Vote v. Hosemann, 43 F. Supp. 3d 693, 722 (S.D. Miss. 2014). To the

contrary, “States have enacted detailed election codes establishing procedures for voting

and election contests” and “[i]n enacting the NVRA, Congress gave no indication that

it intended” to “preempt State laws concerning the election process.” Id. The NVRA

establishes “a complex superstructure of federal regulation atop state voter-registration

systems.” Arizona v. Inter-Tribal Council of Ariz. (ITCA), 570 U.S. 1, 5 (2013) (emphasis

added). Since the NVRA concerns voter registration, it doesn’t regulate state-specific

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rules for voting absentee in state elections. The NCDP doesn’t cite any case applying the

NVRA to prohibit a State from refusing to count ballots submitted by non-residents.

The two cases the NCDP does cite involved challenges to voter registrations, not ballots.

See Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1346 (11th Cir. 2014); N.C. State Conf. of

NAACP v. Bipartisan Bd. of Elections & Ethics Enf’t, 2018 WL 3748172, at *12 (M.D.N.C.

Aug. 7, 2018).

       Second, the NVRA doesn’t apply to state elections. As this Court previously

observed, “[t]he NVRA requires States to provide simplified systems for registering to

vote in federal elections, i.e., elections for federal officials, such as the President, con-

gressional Representatives, and United States Senators.” Doc.50 at 8, No. 5:24-cv-724

(cleaned up). The Constitution “does not give Congress the power to directly regulate

state voter registration procedures in state elections or state ballot issues.” Dobrovolny v.

Nebraska, 100 F. Supp. 2d 1012, 1028 (D. Neb. 2000). And “[a]bsent the invocation by

Congress of its authority under the Fourteenth [or Fifteenth] Amendment[s],” the

States retain “the power to fix the time, place, and manner of the election of [their own]

officials.” Voting Rts. Coal. v. Wilson, 60 F.3d 1411, 1415 (9th Cir. 1995).

       Third, the NCDP’s reading of the NVRA raises “serious constitutional doubts.”

ITCA, 570 U.S. at 17. “Prescribing voting qualifications” forms “no part of the power”

of “the national government.” Id. (cleaned up). Rather, North Carolina alone has the

“constitutional authority” to not only “establish qualifications” such as residency for

voting but also “enforce” those qualifications by “obtaining the information necessary”

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to verify a voter’s residency. Id. at 16-17. Yet the NCDP’s interpretation of the NVRA

strips North Carolina of the “power to enforce” its residency qualification by forcing

the State to count illegal votes submitted by Never Residents. Id. at 17. If adopted, this

novel interpretation of the NVRA would “by degrees subvert the Constitution.” Id.

(cleaned up).

      Fourth, even if the NVRA applied, the North Carolina Supreme Court’s order

isn’t a systematic removal program. Contra 52 U.S.C. §20507(c)(2)(A). The term “pro-

gram” in the NVRA refers to a procedure that is “systematically carried out in service

of a specified end—maintenance of the voter rolls.” Cf. Project Vote, Inc. v. Kemp, 208 F.

Supp. 3d 1320, 1338 (N.D. Ga. 2016). The Court’s order isn’t systematically carried out.

It is a response to the episodic event of a candidate-initiated post-election contest. And

the order doesn’t call for voter-roll maintenance. Rather, it concerns the counting of

illegal votes. The order isn’t “systematic,” and it isn’t an NVRA “program.” So the

NVRA doesn’t regulate it.

      Fifth, the North Carolina Supreme Court’s order authorizes the Board of Elec-

tions to act only based on individualized information. The NVRA’s “90 Day Provision”

does “not bar a state from investigating” potential non-residents and “removing them

on the basis of individualized information, even within the 90–day window.” Arcia, 772

F.3d at 1348. To the contrary, “[t]he 90 Day Provision by its terms only applies to

programs which ‘systematically’ remove the names of ineligible voters.” Id. Since the



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Court’s order allows removals only based on individualized information, it doesn’t vio-

late the NVRA.

        Sixth, the NVRA “protects only ‘eligible’ voters from unauthorized removal.”

Bell, 367 F.3d at 592. It doesn’t apply to Never Residents. Id. Under the NVRA, North

Carolina is “free to take reasonable steps, as have other states, to see” that all registrants

“actually fulfill the requirement of bona fide residence.” Id. There is no “bar” in the

NVRA that prevents “continuing consideration of a voter’s residence.” Id. at 591-92.

Instead, the NVRA “encourages” North Carolina “to maintain accurate and reliable

voting rolls.” Id. at 592. Since the NVRA “protects only ‘eligible’ voters from unauthor-

ized removal” and doesn’t apply to Never Residents who were “improperly registered

in the first place,” the NVRA claim fails. Id.

III.    Movants are not entitled to a preliminary injunction.
        A preliminary injunction is “an extraordinary remedy never awarded as of right.”

Winter v. NRDC, 555 U.S. 7, 24 (2008). The moving party must demonstrate “that he is

likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest.” Id. at 20. Movants bear the burden of proving each prong.

Direx Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991). “For elec-

tion cases in particular, preliminary injunctions are disfavored and require the movant

to satisfy an even heavier burden of showing that the four factors listed above weigh




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heavily and compellingly in movant’s favor.” STOP Hillary PAC v. FEC, 166 F. Supp.

3d 643, 647 (E.D. Va. 2015) (cleaned up).

      As Sections I-II explain, this Court should abstain from addressing Movants’

arguments, and those arguments fail on the merits. Their preliminary injunction mo-

tions also fail because they would cause Judge Griffin irreparable harm, and because the

equities follow the merits.

      A.     Counting “unlawful ballots” would irreparably harm Judge Griffin.
      Throughout this litigation, Justice Riggs has claimed that not counting lawful

votes would cause irreparable harm. Pet. for Writ of Supersedeas at 7, 10, Griffin I, No.

320P24-3 (N.C. Apr. 6, 2025). But now that the North Carolina courts have confirmed

that those votes are unlawful, the argument doesn’t hold water. “[T]he right to vote is

the right to participate in an electoral process that is necessarily structured to maintain

the integrity of the democratic system.” Burdick, 504 U.S. at 441. According to the North

Carolina courts, ballots of Never Residents and overseas ballots submitted without ID

are “unlawful ballots.” Griffin I, 2025 WL 1021724, at *14. Counting those ballots vio-

lates state law. That “inaccurate vote tally” would injure Judge Griffin. Carson v. Simon,

978 F.3d 1051, 1058 (8th Cir. 2020); accord Bush, 531 U.S. at 1047 (Scalia, J., concurring)

(“The counting of votes that are of questionable legality … threaten[s] irreparable

harm” to candidates.).

      Counting those unlawful votes further injures Judge Griffin by potentially de-

priving him of an office to which he is lawfully entitled. There’s no question that if the

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recount breaks in Judge Griffin’s favor, he will “be elected by the qualified voters” and

constitutionally entitled to “hold office” as a North Carolina Supreme Court Justice.

N.C. Const. art. IV, §16. Courts have recognized that similar “deprivation[s]” of a “stat-

utory right” to an office constitute irreparable harm. E.g., Berry v. Reagan, 1983 WL 538,

at *5 (D.D.C. Nov. 14, 1983). The harm is not mere “job loss” or a claim for “lost

earnings.” Dellinger v. Bessent, 2025 WL 471022, at *13 (D.D.C. Feb. 12, 2025). “[T]he

loss of the ability” to fulfill a statutory or constitutional duty “cannot be remediated

with anything other than equitable relief.” Id. at *11. Should he win, Judge Griffin would

be “appointed for a fixed term” that ticks by each day this election contest remains

unresolved. Id. Meanwhile, Justice Riggs continues to sit on the court, N.C. Const. art.

IV, §16, which poses an “obviously disruptive effect” on the North Carolina Supreme

Court’s “activities,” Berry, 1983 WL 538, at *5. The harms in this case “overlap[] con-

siderably” with the parties’ “argument[s] on the merits.” Dellinger, 2025 WL 471022, at

*13. But if Judge Griffin is deprived of a lawful office, there can be no doubt that harm

is “indeed significant, impending, and irreparable.” Id.

       B.     The equities and public interest tilt against enjoining enforcement
              of the North Carolina Supreme Court’s order.
       The equities have only moved further in Judge Griffin’s favor since this case was

last here. Riggs asks the Court to require the Board to count ballots that the state courts

have deemed “unlawful” under state law. Griffin I, 2025 WL 1021724, at *14. “To permit

unlawful votes to be counted along with lawful ballots in contested elections effectively



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‘disenfranchises’ those voters who cast legal ballots.” Griffin II, 2025 WL 1090903, at *1

(cleaned up). The public has an interest in preserving the integrity of its elections. See

Purcell, 549 U.S. at 4. And the equities favor ensuring that unlawful votes don’t dilute

lawful votes. See Reynolds, 377 U.S. at 555.

       The public interest is also served by enforcing state law adopted by the North

Carolina General Assembly and applied by the North Carolina courts. Justice Riggs

would prefer to enforce executive regulations. Riggs Br.8-9. But “allow[ing] an execu-

tive branch official to negate the duly-enacted election laws of a state” is “toxic to the

concepts of the rule of law and fair elections.” Carson, 978 F.3d at 1061. “[I]t is in the

public interest to maintain the integrity of elections by ensuring the ability to separate

and count only those ballots cast according to law.” Id.

       Finally, the equities weigh against intruding on the state election contest. To en-

join enforcement of state court judgments would “intrude on the role of the states,”

“raise the possibility of inconsistent judgments concerning elections,” “erode the final-

ity of results,” “give candidates incentives to bypass the procedures already established,”

and “involve federal courts in the details of state-run elections.” Hutchinson, 797 F.2d at

1285. The “Fourth Circuit has emphasized” that courts must consider “the functional

structure embodied in the Constitution,” and “the nature of the federal court system”

when deciding election cases. Lecky, 285 F. Supp. 3d at 921 (cleaned up). And “were an

injunction granted in this case, it might also provide incentives for candidates and voters

to ignore the principal routes established to challenge an election.” Id. at 922.

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      “Inequity would result” if the Court were to enjoin election officials from fol-

lowing state law. Hirsch, 741 F. Supp. 3d at 345. For these reasons, “the balance of

harms weighs in favor of preserving the ability to uphold the duly enacted election law

of [North Carolina] and the rule of law.” Carson, 978 F.3d at 1061.

                                  CONCLUSION
      The Court should deny the motions and dismiss the cases.

      This 21st day of April, 2025.             Respectfully submitted,

                                                /s/Craig D. Schauer

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      This document complies with Local Rule 7.2(f)(2) because it contains less than

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                                              /s/Craig D. Schauer


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